ease 1:13-cr-00253-EJL Docum`ent 35 l'i="ilé`c`l `0`3/23/13 Page 1 of`3~

AO 199A (as modified by the District~ofldaho - Rev. 2/2018) Order Setting Conditions ofRelease 4 Page 1 of 3 Pages

 

UNITED STATES DISTRICT CoURT

 

for the
instructor IDAHo
United States of Arnerica )
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v vDej?zndant ) ` . n

ORDER SETT[NG CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(l) The defendant must not violate federal, state, or local law Whi-le on release. _
i_

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 4070_2.

(3) The defendant must advise the court or`the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must‘appear in court as required and, if convicted, must surrender as directed to serve a sentence
that the court may impose. '

 

 

The defendant must appear at: As directed by counsel.
' Place

 

'Ofl

 

Date and Tz'me

If blank, defendant Will be notified of next appearance

(5) The defendant must sign an Appearance Bond, if ordered.

 

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AO 1993 (as modified by the District of ldaho - Rev. 2/2018) Additional Conditicns of Release Page/_Z;_/of; Pages

( )

(6) IT IS

Person or organization _
AddreSS (only if above is an organi:alion)
City and state 1 'l`el. No.

ADDITIONAL CONDITIONS OF RELEASE
FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

 

 

 

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is rio longer in the custodian’s custody. ‘

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Signed:
Cu.rtadian Da!e
defendant must: _
submit to supervision by and report for supervision to' Pretrial Services as directed , ’
continue or actively seek employment

continue or start.an education program.
surrender any passport to: Pretrial Services

not obtain a passport or other international travel document .
abide by the following restrictions on personal associations, residence, or travel. 'l`he defendant’s travel shall be restricted to:

(\() the District of Idahc, unless pre-approved by Pretrial Services ( ) other -

 

avoid all contact, directly or indi ctly, with an§ p§rson who is known to be a victim or witness in the investigation or prosecution,

t including: \w\'- vii (X`{'§:b\l\'°\i\

 

return to custody each at o'clock after being released at o’clock for employment schooling,

or the following purposes: . .
maintain residence at a residential re-entry center,' as the pretrial services office or supervising officer considers necessary, and comply

with all rules and regulations of the facility.

 

not possess a fireann, destructive device, or other weapon. _ b
get medical or mental health treatment - as directed by the pretrial services officer
( ) You must pay all_ or part of the cost of the assessment and treatment based upon your ability to pay as determined by the pretrial

services officer.

( ) (l)
( ) (m)
( ) (n)

()(p)

not use alcohol ( )` at all ( ) excessively. -
not frequent establishments where alcohol is the primary item of sale. .~
not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed

medical practitioner. ( ) not use or unlawfully possess drug paraphemalia.

submit _to testing for a prohibited substance if required by the pretrial services office. Testing may be used with random ii'equency and may
include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or
testing The defendant must not obstruct, attempt to obstruct, or tamper with the efEciency and accuracy of prohibited substance screening
or testing. . t ` 4

( ) You must pay all or part of the cost of the testing based upon your ability to pay as determined by the pretrial services officer.
participate in a substance abuse assessment and participate in a program of inpatient or outpatient substance abuse therapy and
counseling if directed by the pretrial services officer. ‘ ' '

_ ( ) You must pay all or part of the cost of the testing based upon your ability to pay as determined by the pretrial services ofticer.

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( ) ()’)

participate in one of the following location monitoring programs and comply with all the program requirements which

( ) will ( ) will not include location monitoring technology as directed by the pretrial services officer.

( ) (i) Curfew. You are restricted to your residence every ( ) from to ,, or ( ) as
directed by the pretrial services office. . ' _ ‘

( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services ofticer; ’ ' '

( ) (iii) Home incarceration ('rbn condition requires ¢¢¢imo\egy) You are restricted to 24-hour-a-day lock-down at your residence
except for medical necessities and court appearances or other activities specifically approved by the court.

( ~) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services officer.

report as soon as possible, to the pretrial services officer, every contact with law enforcement personnel, including arrests, questioning

or traffic stops.

submit to search of person, residence, or vehicle at the request of the pretrial services officer and shall permit seizure of any contraband

found therei.n. ` _

provide the pretrial services officer with any requested financial information and shall not open any new lines of credit without the

pretrial services ofticer’s approval. .'

maintain current residence and shall riot move or change residences without prior approval of the pretrial services officer and obey

established rules of the household. , '

have no contact with any persons the defendant knows to be engaged in criminal activity, or who are illegally using or possessing any

controlled substances
do not possess or use a device with intemet access ( ) or access the intemet, without prior permission from the pretrial services officer,

 

 

 

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AO 199C (Rev. 09/08) Advice ofPenalties Page 3 of 3 Pages
ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF TI~IE FOLLOWING PENALT[ES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one yeai'. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or o&icei' of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both; `

(2) an oHense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions ofi'elease. I promise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence imposed I am aware of the penalties and sanctions set forth above.

 

Defendanl 's Signalure

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_ Directions to the United States Marshal
( /)The defendant is ORDERED released after processing
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the defendant

has posted bond and/or complied with all other conditions for release. if still in custody, the defendant must be produced before
the appropriate judge at the time and place specified

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Judicial G_H'Fcer 's Slgnature

Ronald E. Bush, Chief United States Magistrate Judge

Prinled name and lille

DISTRIBUTION: COURT DEFENDANT PRETR]AL SERVICE U.S. ATTORNEY U.S. MARSHAL

 

 

 

